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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


UNITED STATES OF AMERICA,

       v.                                                 CASE NO.: 5:17-cr-12

RANDY HAWKINS,

               Defendant.


                                           ORDER

       On February 12, 2018, counsel for Defendant filed a Notice to Counsel Response.

(Doc. 409.) In that Notice, counsel for Defendant advised the Court that all pretrial motions filed

in this case as to Defendant Randy Hawkins have been resolved.

       Accordingly, the Court DISMISSES AS MOOT all motions, (docs. 305-315), as to

Defendant Randy Hawkins.        Additionally, the Motions Hearing currently scheduled for

February 22, 2018, is hereby CANCELLED as to Defendant Randy Hawkins only.

       SO ORDERED, this 13th day of February, 2018.




                                      R. STAN BAKER
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
